                   IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF ALASKA



BRIAN MARTIN,                      )
                                   )
                       Plaintiff, )
                                   )
     vs.                           )
                                   )
ARAMARK SPORTS AND ENTERTAINMENT   )
SERVICES, LLC,                     )
                                   )             No. 3:12-cv-0188-HRH
                       Defendant. )
___________________________________)



                                  O R D E R
                      Stipulation to Dismiss Named
                      Party and Amend Case Caption1

     The stipulation filed by the parties on November 19, 2012, to

dismiss named defendant McKinley Chalet Resort, LLC, and amend the

case caption is approved.

     McKinley Chalet Resort, LLC, is hereby dismissed, without pre-

judice, and the case caption shall read:         BRIAN MARTIN, Plaintiff,
vs. ARAMARK SPORTS AND ENTERTAINMENT SERVICES, LLC., Defendant.

     DATED at Anchorage, Alaska, this 20th day of November, 2012.


                                          s/ H. Russel Holland
                                          United States District Judge




     1
      Docket No. 16.

ORDER – Stipulation to Dismiss
Named Party and Amend Case Caption                                       - 1 -


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